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                    Exhibit B
                                                                                    Richard J. Doren
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                                                                                    RDoren@gibsondunn.com




August 28, 2020


VIA ELECTRONIC MAIL

Katherine Forrest
Cravath, Swaine & Moore LLP
Worldwide Plaza
825 Eighth Avenue
New York, NY 10019-7475

Re:    Epic Games, Inc. v. Apple Inc., No. 20-cv-05640-YGR

Dear Katherine:

Two weeks ago, Apple informed Epic Games, Inc. (“Epic”) that, because of its willful
breaches of the Developer Program License Agreement and violations of the App Store App
Review Guidelines, Apple would terminate Epic’s Developer Program account unless Epic
submitted a compliant Fortnite app. You sought a TRO in favor of Epic Games, Inc. and its
affiliates. That request was denied as to Epic Games, Inc. because of your gross violations of
your agreements with Apple. Apple is entirely within its rights to terminate Epic Games,
Inc.’s developer account and all related functionality, but Sign In with Apple will continue to
function for Apple customers for the next two weeks.

This is a problem of Epic’s making, and the resolution is entirely within Epic’s control. It is
not a matter of “urgent concern” for either Apple or the Court. If the future loss of this
functionality is of concern to Epic, Apple suggests Epic start the relevant engineering work
immediately. If Epic’s engineers have questions of Apple’s, they have worked together in the
past and Epic knows how to reach them.
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Sincerely,               Document 89-2 Filed 09/18/20 Page 2 of 2




s/ Richard J. Doren

RJD/bxy
